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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA


RAYMOND BLAYLOCK,                         )
                                          )
                     Petitioner,          )
        vs.                               )      No. 1:05-cv-1641-JDT-TAB
                                          )
MARK A. BEZY,                             )
                     Respondent.          )




                                     JUDGMENT

        The court, having this day made its Entry,

        IT IS THEREFORE ADJUDGED that the petitioner take nothing by his petition for
a writ of habeas corpus and this action is dismissed with prejudice.




Date:     2/21/2006
                                      _______________________________


                                         John Daniel Tinder, Judge
Laura Briggs, Clerk
                                         United States District Court
United States District Court




By: Deputy Clerk



Copies to:

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